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         428 J Street - Suite 350
3        Sacramento, California 95814
4        Telephone: (916) 447-8262

5        Attorney for Defendant: MICHAEL ALVARO
6
7
8                    IN THE UNITED STATES DISTRICT COURT
9
10
                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12
         UNITED STATES OF AMERICA,                     )         Crim. S-04-491 FCD
13
                                                       )
14                                      Plaintiff,     )          SUBSTITUTION
15                           v.                        )            OF
                                                       )          COUNSEL
16
          MICHAEL ALVARO,                              )
17                                                     )
18                                        Defendant,   )
                                                       )
19
20         The undersigned defendant hereby substitutes Joseph Wiseman in place and
21
     instead of Steven D. Bauer as his attorney in the above captioned case.
22
23       I agree to the above substitution             I agree to the substitution.
         Dated: August 4, 2005                           Dated: August 4, 2005
24
25       / s / Michael Alvaro                              / s / Steven D. Bauer
26       Michael Alvaro                                    Steven D. Bauer
         Defendant                                         Attorney at Law
27
28
        Case 2:04-cr-00491-EJG Document 26 Filed 08/09/05 Page 2 of 2


1    I accept the representation of the defendant.
2    Dated: August 4, 2005
3
     / s / Joseph Wiseman
4
5    Joseph Wiseman
     Attorney at Law
6
7    For Good Cause Appearing
8    IT IS SO ORDERED
     Dared: August 9, 2005
9
10   /s/ Frank C. Damrell Jr.
11
     FRANK C. DAMRELL, JR.
     U. S. District Judge
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